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                        Exhibit 1
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                          UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


 FEDERAL TRADE COMMISSION,

        Plaintiff,                                      Case No. 19-cv-00063 (CW)

        v.

 FAT GIRAFFE MARKETING GROUP LLC, a
 Utah limited liability company,

 CLOUD CLICK, L.L.C., a Utah limited liability          STIPULATED ORDER FOR
 company,                                               PERMANENT INJUNCTION AND
                                                        MONETARY JUDGMENT
 ELEVATE CONSULTING INTERNATIONAL
 LLC, a Utah limited liability company,

 COVE SOLUTIONS LLC, a Utah limited liability
 company,

 LAKE VIEW HOLDINGS LLC, a Utah limited
 liability company,

 GREGORY W. ANDERSON, individually and as
 a principal and sole owner of COVE
 SOLUTIONS LLC and LAKE VIEW
 HOLDINGS LLC, and

 GARRETT P. ROBINS, individually and as a
 principal and sole owner of FAT GIRAFFE
 MARKETING GROUP LLC, ELEVATE
 CONSULTING INTERNATIONAL LLC, and
 CLOUD CLICK, L.L.C.,

        Defendants.


       Plaintiff, the Federal Trade Commission (“Commission” or “FTC”), filed its Complaint

for Permanent Injunction and Other Equitable Relief (“Complaint”) in this matter, pursuant to

Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b),

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57b, and the Telemarketing and Consumer Fraud Abuse Prevention Act (“Telemarketing Act”),

15 U.S.C. §§ 6101-6108. The Commission and Defendants Fat Giraffe Marketing Group LLC,

Cloud Click, L.L.C., Elevate Consulting International LLC, Cove Solutions LLC, Lake View

Holdings LLC, Gregory W. Anderson, and Garrett P. Robins (collectively, “Defendants”)

stipulate to the entry of this Stipulated Order for Permanent Injunction and Monetary Judgment

(“Order”) to resolve all matters in dispute in this action between them.

       THEREFORE, IT IS ORDERED as follows:

                                           FINDINGS

       1.      This Court has jurisdiction over this matter.

       2.      The Complaint charges that Defendants participated in deceptive acts or practices

in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, the FTC’s trade regulation rule entitled

Disclosure Requirements and Prohibitions Concerning Business Opportunities (“Business

Opportunity Rule”), 16 C.F.R. Part 437, as amended, and the FTC’s trade regulation rule entitled

Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310, in the operation of an online

moneymaking scheme promising that consumers who paid an up-front fee could make

significant income with little effort, all from the comfort of their own homes.

       3.      Defendants neither admit nor deny any of the allegations in the Complaint, except

as specifically stated in this Order. Only for purposes of this action, Defendants admit the facts

necessary to establish jurisdiction.

       4.      Defendants waive any claim that they may have under the Equal Access to Justice

Act, 28 U.S.C. § 2412, concerning the prosecution of this action through the date of this Order,

and agree to bear their own costs and attorney fees.



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       5.      Defendants and the Commission waive all rights to appeal or otherwise challenge

or contest the validity of this Order.

                                          DEFINITIONS

       For the purpose of this Order, the following definitions apply:

       A.      “Business Coaching Services” means any product or service, including any

program or plan, that is represented, expressly or by implication, to train or teach a consumer

how to establish, operate, or improve a business.

       B.      “Business Opportunity” means a commercial arrangement in which:

               (1) A seller solicits a prospective purchaser to enter into a new business; and

               (2) The prospective purchaser makes a required payment; and

               (3) The seller, expressly or by implication, orally or in writing, represents that the

                   seller or one or more Designated Persons will:

                           i.   Provide locations for the use or operation of equipment, displays,

                                vending machines, or similar devices, owned, leased, controlled, or

                                paid for by the purchaser; or

                         ii.    Provide outlets, accounts, or customers, including, but not limited

                                to, Internet outlets, accounts, or customers, for the purchaser’s

                                goods or services, including, but not limited to, providing access to

                                accounts or customers as part of an affiliate marketing or link

                                posting program; or

                         iii.   Buy back any or all of the goods or services that the purchaser

                                makes, produces, fabricates, grows, breeds, modifies, or provides,



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                              including, but not limited to, providing payment for such services

                              as, for example, stuffing envelopes from the purchaser’s home.

       C.      “Corporate Defendants” means Fat Giraffe Marketing Group LLC, Cloud Click,

L.L.C., Elevate Consulting International LLC, Cove Solutions LLC, and Lake View Holdings

LLC and their successors and assigns.

       D.      “Defendants” means all of the Individual Defendants and Corporate Defendants,

individually, collectively, or in any combination.

       E.      “Designated Person” means any person, other than the seller, whose goods or

services the seller suggests, recommends, or requires that the purchaser use in establishing or

operating a new business.

       F.      “Individual Defendants” means Gregory W. Anderson and Garrett P. Robins.

       G.      “Person” means any natural person or any entity, corporation, partnership, or

association of persons.

       H.      “Telemarketing” means any plan, program, or campaign which is conducted to

induce the purchase of goods or services by use of one or more telephones, and which involves a

telephone call, whether or not covered by the Telemarketing Sales Rule.



                                             ORDER

                                                 I.

              BAN ON MARKETING OR SALE OF BUSINESS COACHING
                   SERVICES AND BUSINESS OPPORTUNITIES

       IT IS ORDERED that Defendants are permanently restrained and enjoined from:

       A.      Advertising, marketing, promoting, or offering for sale, or assisting in the


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advertising, marketing, promoting, or offering for sale of any (1) Business Coaching Service or

(2) Business Opportunity; and

       B.      Holding an ownership interest, share, or stock in any business, other than a

publicly traded company, that engages in or assists in advertising, marketing, promoting, or

offering for sale any (1) Business Coaching Service or (2) Business Opportunity.

       Provided, however, that Subsections A and B above do not prohibit the Individual

Defendants from providing consulting services, compliance review, or similar services as an

employee or agent of a law firm or insurance agency.

                                                 II.

            PROHIBITIONS RELATING TO TELEMARKETING PRACTICES

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, in connection with

Telemarketing of any good or service, are permanently restrained and enjoined from:

       A.      Misrepresenting the identity of the seller or telemarketer;

       B.      Misrepresenting Defendants’ relationship with the seller or telemarketer; or

       C.      Violating any provision of the TSR. (A copy of the TSR is attached as

Attachment A.)

                                                III.

                   PROHIBITIONS AGAINST MISREPRESENTATIONS

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who



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receive actual notice of this Order, whether acting directly or indirectly, in connection with

promoting or offering for sale any good or service other than those banned by Section I of this

Order, are permanently restrained and enjoined from misrepresenting or assisting others in

misrepresenting, expressly or by implication:

       A.      That consumers are likely to earn substantial income, or, a specific level or range

of actual or potential income;

       B.      How any payments to consumers are calculated or determined;

       C.      That a job training product or service is actually a job placement;

       D.      That any endorsement is a truthful endorsement or by an actual user of such

product or service;

       E.      That any endorsement is by an independent or ordinary user of the product or

service;

       F.      That any review or endorsement is an independent or impartial review or

endorsement;

       G.      Any material aspect of the performance, efficacy, nature, or central characteristics

of the product or service.

                                                 IV.

                                  MONETARY JUDGMENT

       IT IS FURTHER ORDERED that:

       A.      Judgment in the amount of TEN MILLION NINE HUNDRED

TWENTY-THREE THOUSAND ONE HUNDRED THIRTY-EIGHT DOLLARS ($10,923,138)

is entered in favor of the Commission against the Defendants, jointly and severally, as equitable



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monetary relief.

       B.      In partial satisfaction of the monetary judgment set forth above, Defendants are

ordered to pay to the Commission Eighteen Thousand Three Hundred Ninety-Five Dollars

($18,395). Such payment must be made by electronic fund transfer in accordance with

instructions previously provided by a representative of the Commission, as follows: payment of

Thirteen Thousand Three Hundred Ninety-Five Dollars ($13,395), which, as Defendants

stipulate, their undersigned counsel holds in escrow for no purpose other than payment to the

Commission, within 7 days of entry of this Order; and payment of the balance of Five Thousand

Dollars ($5,000) within 45 days of entry of this Order. Upon such payments, the remainder of

the judgment is suspended, subject to the Subsections below.

       C.      The Commission’s agreement to the suspension of part of the judgment is

expressly premised upon the truthfulness, accuracy, and completeness of Defendants’ sworn

financial statements and related documents (collectively, “financial representations”) submitted

to the Commission, namely:

               1.     the Financial Statement of Individual Defendant Gregory W. Anderson

signed on October 24, 2018, including the attachments;

               2.     the Financial Statement of Individual Defendant Garrett P. Robins signed

on October 24, 2018, including the attachments;

               3.     the Financial Statement of Corporate Defendant Cove Solutions LLC

signed by Individual Defendant Gregory W. Anderson on October 24, 2018;

               4.     the Financial Statement of Corporate Defendant Lake View Holdings LLC

signed by Individual Defendant Gregory W. Anderson on October 24, 2018;



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               5.      the Financial Statement of Corporate Defendant Cloud Click, L.L.C.

signed by Individual Defendant Garrett P. Robins on October 24, 2018;

               6.      the Financial Statement of Corporate Defendant Elevate Consulting

International LLC signed by Individual Defendant Garrett P. Robins on October 24, 2018;

               7.      the Financial Statement of Corporate Defendant Fat Giraffe Marketing

Group LLC signed by Individual Defendant Garrett P. Robins on October 24, 2018;

               8.      the additional information submitted by email from Defendants’ counsel

JD Lauritzen to Commission counsel Savvas S. Diacosavvas dated October 16, 2018, October 5,

2018, and September 18, 2018, each with the subject line “Follow up Questions (Gregory

Anderson);” and

               9.      the additional information submitted by email from Defendants’ counsel

JD Lauritzen to Commission counsel Savvas S. Diacosavvas dated October 16, 2018 (two emails

on this date), October 5, 2018, and September 18, 2018, each with the subject line “Follow up

Questions (Garrett Robins).”

       D.      The suspension of the judgment will be lifted as to any Defendant if, upon motion

by the Commission, the Court finds that Defendant failed to disclose any material asset,

materially misstated the value of any asset, or made any other material misstatement or omission

in the financial representations identified above.

       E.      If the suspension of the judgment is lifted, the judgment becomes immediately

due as to that Defendant in the amount specified in Subsection A above (which the parties

stipulate only for purposes of this Section represents the consumer injury alleged in the

Complaint), less any payments previously made pursuant to this Section, plus interest computed



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from the date of entry of this Order.

                                                 V.

                         ADDITIONAL MONETARY PROVISIONS

       IT IS FURTHER ORDERED that:

       A.      Defendants relinquish dominion and all legal and equitable right, title, and interest

in all assets transferred pursuant to this Order and may not seek the return of any assets.

       B.      The facts alleged in the Complaint will be taken as true, without further proof, in

any subsequent civil litigation by or on behalf of the Commission, including in a proceeding to

enforce its rights to any payment or monetary judgment pursuant to this Order, such as a

nondischargeability complaint in any bankruptcy case.

       C.      The facts alleged in the Complaint establish all elements necessary to sustain an

action by the Commission pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

§ 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

       D.      Defendants acknowledge that their Taxpayer Identification Numbers (Social

Security Numbers or Employer Identification Numbers), which Defendants previously submitted

to the Commission, may be used for collecting and reporting on any delinquent amount arising

out of this Order, in accordance with 31 U.S.C. §7701.

       E.       All money paid to the Commission pursuant to this Order may be deposited into

a fund administered by the Commission or its designee to be used for equitable relief, including

consumer redress and any attendant expenses for the administration of any redress fund. If a

representative of the Commission decides that direct redress to consumers is wholly or partially

impracticable or money remains after redress is completed, the Commission may apply any



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remaining money for such other equitable relief (including consumer information remedies) as it

determines to be reasonably related to Defendants’ practices alleged in the Complaint. Any

money not used for such equitable relief is to be deposited to the U.S. Treasury as disgorgement.

Defendants have no right to challenge any actions the Commission or its representatives may

take pursuant to this Subsection.

                                                VI.

                                CUSTOMER INFORMATION

        IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, are permanently restrained and enjoined from directly or

indirectly:

        A.     Failing to provide sufficient customer information to enable the Commission to

efficiently administer consumer redress. Defendants represent that they have provided this

redress information to the Commission. If a representative of the Commission requests in

writing any information related to redress, Defendants must provide it, in the form prescribed by

the Commission, within 14 days;

        B.     Disclosing, using, or benefitting from customer information, including the name,

address, telephone number, email address, social security number, other identifying information,

or any data that enables access to a customer’s account (including a credit card, bank account, or

other financial account), that any Defendant obtained prior to entry of this Order; and

        C.     Failing to destroy such customer information in all forms in their possession,

custody, or control within 30 days after receipt of written direction to do so from a representative



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of the Commission.

         Provided, however, that customer information need not be disposed of, and may be

disclosed, to the extent requested by a government agency or required by law, regulation, or

court order.

                                               VII.

                                        COOPERATION

         IT IS FURTHER ORDERED that Defendants fully cooperate with representatives of the

Commission in this case and in any investigation related to or associated with the transactions or

the occurrences that are the subject of the Complaint. Defendants must provide truthful and

complete information, evidence, and testimony. The Individual Defendants must appear and the

Corporate Defendants must cause their officers, employees, representatives, or agents to appear

for interviews, discovery, hearings, trials, and any other proceedings that a Commission

representative may reasonably request upon 10 days written notice, or other reasonable notice, at

such places and times as a Commission representative may designate, without the service of a

subpoena. If the presence of a person described in this paragraph is required outside the State of

Utah as well as beyond 100 miles of the person’s residence, the FTC agrees to arrange and pay

for the person’s reasonable travel expenses.

                                               VIII.

                              ORDER ACKNOWLEDGMENTS

         IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this

Order:

         A.     Each Defendant, within 7 days of entry of this Order, must submit to the



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Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.

        B.      For 5 years after entry of this Order, each Individual Defendant for any business

that such Defendant, individually or collectively with any other Defendants, is the majority

owner or controls directly or indirectly, and each Corporate Defendant, must deliver a copy of

this Order to: (1) all principals, officers, directors, and LLC managers and members; (2) all

employees having managerial responsibilities for conduct related to the subject matter of the

Order and all agents and representatives who participate in conduct related to the subject matter

of the Order; and (3) any business entity resulting from any change in structure as set forth in the

Section titled Compliance Reporting. Delivery must occur within 7 days of entry of this Order

for current personnel. For all others, delivery must occur before they assume their

responsibilities.

        C.      From each individual or entity to which a Defendant delivered a copy of this

Order, that Defendant must obtain, within 30 days, a signed and dated acknowledgment of

receipt of this Order.

                                                IX.

                                  COMPLIANCE REPORTING

        IT IS FURTHER ORDERED that Defendants make timely submissions to the

Commission:

        A.      One year after entry of this Order, each Defendant must submit a compliance

report, sworn under penalty of perjury:

                1.       Each Defendant must: (a) identify the primary physical, postal, and email

address and telephone number, as designated points of contact, which representatives of the



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Commission may use to communicate with Defendant; (b) identify all of that Defendant’s

businesses by all of their names, telephone numbers, and physical, postal, email, and Internet

addresses; (c) describe the activities of each business, including the goods and services offered,

the means of advertising, marketing, and sales, and the involvement of any other Defendant

(which Individual Defendants must describe if they know or should know due to their own

involvement); (d) describe in detail whether and how that Defendant is in compliance with each

Section of this Order; and (e) provide a copy of each Order Acknowledgment obtained pursuant

to this Order, unless previously submitted to the Commission.

                2.      Additionally, each Individual Defendant must: (a) identify all telephone

numbers and all physical, postal, email and Internet addresses, including all residences; (b)

identify all business activities, including any business for which such Defendant performs

services whether as an employee or otherwise and any entity in which such Defendant has any

ownership interest; and (c) describe in detail such Defendant’s involvement in each such

business, including title, role, responsibilities, participation, authority, control, and any

ownership.

        B.      For 15 years after entry of this Order, each Defendant must submit a compliance

notice, sworn under penalty of perjury, within 14 days of any change in the following:

                1.      Each Defendant must report any change in: (a) any designated point of

contact; or (b) the structure of any Corporate Defendant or any entity that Defendant has any

ownership interest in or controls directly or indirectly that may affect compliance obligations

arising under this Order, including: creation, merger, sale, or dissolution of the entity or any

subsidiary, parent, or affiliate that engages in any acts or practices subject to this Order.



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                2.      Additionally, each Individual Defendant must report any change in: (a)

name, including aliases or fictitious name, or residence address; or (b) title or role in any

business activity, including any business for which such Defendant performs services whether as

an employee or otherwise and any entity in which such Defendant has any ownership interest,

and identify the name, physical address, and any Internet address of the business or entity.

        C.      Each Defendant must submit to the Commission notice of the filing of any

bankruptcy petition, insolvency proceeding, or similar proceeding by or against such Defendant

within 14 days of its filing.

        D.      Any submission to the Commission required by this Order to be sworn under

penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by

concluding: “I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct. Executed on: _____” and supplying the date, signatory’s

full name, title (if applicable), and signature.

        E.      Unless otherwise directed by a Commission representative in writing, all

submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or

sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,

Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

Washington, DC 20580. The subject line must begin: FTC v. Fat Giraffe Marketing Group,

LLC, et al.

                                                   X.

                                        RECORDKEEPING

        IT IS FURTHER ORDERED that Defendants must create certain records for 15 years



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after entry of the Order, and retain each such record for 5 years. Specifically, each Corporate

Defendant and each Individual Defendant for any business that such Defendant, individually or

collectively with any other Defendants, is a majority owner or controls directly or indirectly,

must create and retain the following records:

       A.      Accounting records showing the revenues from all goods or services sold;

       B.      Personnel records showing, for each person providing services, whether as an

employee or otherwise, that person’s: name; addresses; telephone numbers; job title or position;

dates of service; and (if applicable) the reason for termination;

       C.      Records of all consumer complaints and refund requests, whether received

directly or indirectly, such as through a third party, and any response;

       D.      All records necessary to demonstrate full compliance with each provision of this

Order, including all submissions to the Commission; and

       E.      A copy of each unique advertisement or other marketing material.

                                                XI.

                                COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance

with this Order, including the financial representations upon which part of the judgment was

suspended and any failure to transfer any assets as required by this Order:

       A.      Within 14 days of receipt of a written request from a representative of the

Commission, each Defendant must: submit additional compliance reports or other requested

information, which must be sworn under penalty of perjury; appear for depositions; and produce

documents for inspection and copying. The Commission is also authorized to obtain discovery,



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without further leave of court, using any of the procedures prescribed by Federal Rules of Civil

Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and 69.

       B.       For matters concerning this Order, the Commission is authorized to

communicate directly with each Defendant. Defendant must permit representatives of the

Commission to interview any employee or other person affiliated with any Defendant who has

agreed to such an interview. The person interviewed may have counsel present.

       C.      The Commission may use all other lawful means, including posing, through its

representatives as consumers, suppliers, or other individuals or entities, to Defendants or any

individual or entity affiliated with Defendants, without the necessity of identification or prior

notice. Nothing in this Order limits the Commission’s lawful use of compulsory process,

pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

       D.      Upon written request from a representative of the Commission, any consumer

reporting agency must furnish consumer reports concerning Individual Defendants, pursuant to

Section 604(1) of the Fair Credit Reporting Act, 15 U.S.C. §1681b(a)(1).

                                                XII.

                               RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

purposes of construction, modification, and enforcement of this Order.



SO ORDERED this             day of                                 , 2018.



                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE


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 SO STIPULATED AND AGREED:

      FOR PLAINTIFF
      FEDERAL TRADE COMMISSION:

                                                         Date:
      Savvas S. Diacosavvas
      Darren H. Lubetzky
      Federal Trade Commission
      Northeast Region
      One Bowling Green, Suite 318
      New York, NY 10004
      Tel:(212)607-2829
      Fax:(212)607-2822
      Email: sdiacosavvas@ftc.gov
      Email: dlubetzky@ftc.gov


      FOR DEFENDANT

                                                         Date:    i°1
      K
      JD     rit
      Christensen & Jensen, P.C.
      257 East 200 South, Suite 1100
      Salt Lake City, Utah 84111
      Tel:(801) 323-5000
      Fax:(801)355-3472
      Email: karra.porter@chrisjen.com

      COUNSEL for Fat Giraffe Marketing Group LLC, Cloud Click, L.L.C., Elevate
      Consulting International LLC, Cove Solutions LLC, Lake View Holdings LLC, Gregory
      W. Anderson, and Garrett P. Robins

      DEFENDANTS:

                                                         Date:
      GREGORY W. ANDERSON
      Individually and as an officer of Cove Solutions LLC and Lake View Holdings LLC

                                                         Date:     1            )
      GARRETT P. ROBI
      Individually and as an officer of Cloud Click LLC, Elevate Consulting International LLC,
      and Fat Giraffe Marketing Group LLC
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                                           ATTACHMENT A
 ELECTRONIC CODE OF FEDERAL REGULATIONS

                           e-CFR data is current as of October 12, 2018

 Title 16 → Chapter I → Subchapter C → Part 310


 Title 16: Commercial Practices


 PART 310—TELEMARKETING SALES RULE 16 CFR PART 310

 Contents
 §310.1 Scope of regulations in this part.
 §310.2 Definitions.
 §310.3 Deceptive telemarketing acts or practices.
 §310.4 Abusive telemarketing acts or practices.
 §310.5 Recordkeeping requirements.
 §310.6 Exemptions.
 §310.7 Actions by states and private persons.
 §310.8 Fee for access to the National Do Not Call Registry.
 §310.9 Severability.

    AUTHORITY: 15 U.S.C. 6101-6108.

     SOURCE: 75 FR 48516, Aug. 10, 2010, unless otherwise noted.

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 §310.1 Scope of regulations in this part.

    This part implements the Telemarketing and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. 6101-6108, as
 amended.

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 §310.2 Definitions.

       (a) Acquirer means a business organization, financial institution, or an agent of a business organization or financial
 institution that has authority from an organization that operates or licenses a credit card system to authorize merchants to
 accept, transmit, or process payment by credit card through the credit card system for money, goods or services, or anything
 else of value.

     (b) Attorney General means the chief legal officer of a state.

     (c) Billing information means any data that enables any person to access a customer's or donor's account, such as a credit
 card, checking, savings, share or similar account, utility bill, mortgage loan account, or debit card.

      (d) Caller identification service means a service that allows a telephone subscriber to have the telephone number, and,
 where available, name of the calling party transmitted contemporaneously with the telephone call, and displayed on a device in
 or connected to the subscriber's telephone.

     (e) Cardholder means a person to whom a credit card is issued or who is authorized to use a credit card on behalf of or in
 addition to the person to whom the credit card is issued.

      (f) Cash-to-cash money transfer means the electronic (as defined in section 106(2) of the Electronic Signatures in Global
 and National Commerce Act (15 U.S.C. 7006(2)) transfer of the value of cash received from one person to another person in a
 different location that is sent by a money transfer provider and received in the form of cash. For purposes of this definition,
 money transfer provider means any person or financial institution that provides cash-to-cash money transfers for a person in the
 normal course of its business, whether or not the person holds an account with such person or financial institution. The term
 cash-to-cash money transfer includes a remittance transfer, as defined in section 919(g)(2) of the Electronic Fund Transfer Act
 (“EFTA”), 15 U.S.C. 1693a, that is a cash-to-cash transaction; however it does not include any transaction that is:

     (1) An electronic fund transfer as defined in section 903 of the EFTA;

     (2) Covered by Regulation E, 12 CFR 1005.20, pertaining to gift cards; or

     (3) Subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq.




https://www.ecfr.gov/cgi-bin/text-idx?SID=12307c7982c4194914908a0f53210320&mc=... 10/16/2018
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      (g) Cash reload mechanism is a device, authorization code, personal identification number, or other security measure that
 makes it possible for a person to convert cash into an electronic (as defined in section 106(2) of the Electronic Signatures in
 Global and National Commerce Act (15 U.S.C. 7006(2)) form that can be used to add funds to a general-use prepaid card, as
 defined in Regulation E, 12 CFR 1005.2, or an account with a payment intermediary. For purposes of this definition, a cash
 reload mechanism is not itself a general-use prepaid debit card or a swipe reload process or similar method in which funds are
 added directly onto a person's own general-use prepaid card or account with a payment intermediary.

     (h) Charitable contribution means any donation or gift of money or any other thing of value.

     (i) Commission means the Federal Trade Commission.

     (j) Credit means the right granted by a creditor to a debtor to defer payment of debt or to incur debt and defer its payment.

     (k) Credit card means any card, plate, coupon book, or other credit device existing for the purpose of obtaining money,
 property, labor, or services on credit.

     (l) Credit card sales draft means any record or evidence of a credit card transaction.

     (m) Credit card system means any method or procedure used to process credit card transactions involving credit cards
 issued or licensed by the operator of that system.

     (n) Customer means any person who is or may be required to pay for goods or services offered through telemarketing.

      (o) Debt relief service means any program or service represented, directly or by implication, to renegotiate, settle, or in any
 way alter the terms of payment or other terms of the debt between a person and one or more unsecured creditors or debt
 collectors, including, but not limited to, a reduction in the balance, interest rate, or fees owed by a person to an unsecured
 creditor or debt collector.

     (p) Donor means any person solicited to make a charitable contribution.

     (q) Established business relationship means a relationship between a seller and a consumer based on:

     (1) the consumer's purchase, rental, or lease of the seller's goods or services or a financial transaction between the
 consumer and seller, within the eighteen (18) months immediately preceding the date of a telemarketing call; or

    (2) the consumer's inquiry or application regarding a product or service offered by the seller, within the three (3) months
 immediately preceding the date of a telemarketing call.

     (r) Free-to-pay conversion means, in an offer or agreement to sell or provide any goods or services, a provision under
 which a customer receives a product or service for free for an initial period and will incur an obligation to pay for the product or
 service if he or she does not take affirmative action to cancel before the end of that period.

     (s) Investment opportunity means anything, tangible or intangible, that is offered, offered for sale, sold, or traded based
 wholly or in part on representations, either express or implied, about past, present, or future income, profit, or appreciation.

     (t) Material means likely to affect a person's choice of, or conduct regarding, goods or services or a charitable contribution.

      (u) Merchant means a person who is authorized under a written contract with an acquirer to honor or accept credit cards, or
 to transmit or process for payment credit card payments, for the purchase of goods or services or a charitable contribution.

      (v) Merchant agreement means a written contract between a merchant and an acquirer to honor or accept credit cards, or
 to transmit or process for payment credit card payments, for the purchase of goods or services or a charitable contribution.

      (w) Negative option feature means, in an offer or agreement to sell or provide any goods or services, a provision under
 which the customer's silence or failure to take an affirmative action to reject goods or services or to cancel the agreement is
 interpreted by the seller as acceptance of the offer.

      (x) Outbound telephone call means a telephone call initiated by a telemarketer to induce the purchase of goods or services
 or to solicit a charitable contribution.

     (y) Person means any individual, group, unincorporated association, limited or general partnership, corporation, or other
 business entity.

      (z) Preacquired account information means any information that enables a seller or telemarketer to cause a charge to be
 placed against a customer's or donor's account without obtaining the account number directly from the customer or donor
 during the telemarketing transaction pursuant to which the account will be charged.

      (aa) Prize means anything offered, or purportedly offered, and given, or purportedly given, to a person by chance. For
 purposes of this definition, chance exists if a person is guaranteed to receive an item and, at the time of the offer or purported
 offer, the telemarketer does not identify the specific item that the person will receive.




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      (bb) Prize promotion means:

      (1) A sweepstakes or other game of chance; or

      (2) An oral or written express or implied representation that a person has won, has been selected to receive, or may be
 eligible to receive a prize or purported prize.

      (cc) Remotely created payment order means any payment instruction or order drawn on a person's account that is created
 by the payee or the payee's agent and deposited into or cleared through the check clearing system. The term includes, without
 limitation, a “remotely created check,” as defined in Regulation CC, Availability of Funds and Collection of Checks, 12 CFR
 229.2(fff), but does not include a payment order cleared through an Automated Clearinghouse (ACH) Network or subject to the
 Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR part 1026.

      (dd) Seller means any person who, in connection with a telemarketing transaction, provides, offers to provide, or arranges
 for others to provide goods or services to the customer in exchange for consideration.

     (ee) State means any state of the United States, the District of Columbia, Puerto Rico, the Northern Mariana Islands, and
 any territory or possession of the United States.

     (ff) Telemarketer means any person who, in connection with telemarketing, initiates or receives telephone calls to or from a
 customer or donor.

       (gg) Telemarketing means a plan, program, or campaign which is conducted to induce the purchase of goods or services
 or a charitable contribution, by use of one or more telephones and which involves more than one interstate telephone call. The
 term does not include the solicitation of sales through the mailing of a catalog which: contains a written description or illustration
 of the goods or services offered for sale; includes the business address of the seller; includes multiple pages of written material
 or illustrations; and has been issued not less frequently than once a year, when the person making the solicitation does not
 solicit customers by telephone but only receives calls initiated by customers in response to the catalog and during those calls
 takes orders only without further solicitation. For purposes of the previous sentence, the term “further solicitation” does not
 include providing the customer with information about, or attempting to sell, any other item included in the same catalog which
 prompted the customer's call or in a substantially similar catalog.

       (hh) Upselling means soliciting the purchase of goods or services following an initial transaction during a single telephone
 call. The upsell is a separate telemarketing transaction, not a continuation of the initial transaction. An “external upsell” is a
 solicitation made by or on behalf of a seller different from the seller in the initial transaction, regardless of whether the initial
 transaction and the subsequent solicitation are made by the same telemarketer. An “internal upsell” is a solicitation made by or
 on behalf of the same seller as in the initial transaction, regardless of whether the initial transaction and subsequent solicitation
 are made by the same telemarketer.

 [75 FR 48516, Aug. 10, 2010, as amended at 80 FR 77557, Dec. 14, 2015]

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 §310.3 Deceptive telemarketing acts or practices.

     (a) Prohibited deceptive telemarketing acts or practices. It is a deceptive telemarketing act or practice and a violation of this
 Rule for any seller or telemarketer to engage in the following conduct:

     (1) Before a customer consents to pay659 for goods or services offered, failing to disclose truthfully, in a clear and
 conspicuous manner, the following material information:
      659
          When a seller or telemarketer uses, or directs a customer to use, a courier to transport payment, the seller or telemarketer must make the
 disclosures required by §310.3(a)(1) before sending a courier to pick up payment or authorization for payment, or directing a customer to have a
 courier pick up payment or authorization for payment. In the case of debt relief services, the seller or telemarketer must make the disclosures required
 by §310.3(a)(1) before the consumer enrolls in an offered program.

      (i) The total costs to purchase, receive, or use, and the quantity of, any goods or services that are the subject of the sales
 offer;660
      660
          For offers of consumer credit products subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR 226, compliance
 with the disclosure requirements under the Truth in Lending Act and Regulation Z shall constitute compliance with §310.3(a)(1)(i) of this Rule.

      (ii) All material restrictions, limitations, or conditions to purchase, receive, or use the goods or services that are the subject
 of the sales offer;

     (iii) If the seller has a policy of not making refunds, cancellations, exchanges, or repurchases, a statement informing the
 customer that this is the seller's policy; or, if the seller or telemarketer makes a representation about a refund, cancellation,
 exchange, or repurchase policy, a statement of all material terms and conditions of such policy;

      (iv) In any prize promotion, the odds of being able to receive the prize, and, if the odds are not calculable in advance, the
 factors used in calculating the odds; that no purchase or payment is required to win a prize or to participate in a prize promotion




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 and that any purchase or payment will not increase the person's chances of winning; and the no-purchase/no-payment method
 of participating in the prize promotion with either instructions on how to participate or an address or local or toll-free telephone
 number to which customers may write or call for information on how to participate;

     (v) All material costs or conditions to receive or redeem a prize that is the subject of the prize promotion;

      (vi) In the sale of any goods or services represented to protect, insure, or otherwise limit a customer's liability in the event
 of unauthorized use of the customer's credit card, the limits on a cardholder's liability for unauthorized use of a credit card
 pursuant to 15 U.S.C. 1643;

      (vii) If the offer includes a negative option feature, all material terms and conditions of the negative option feature,
 including, but not limited to, the fact that the customer's account will be charged unless the customer takes an affirmative action
 to avoid the charge(s), the date(s) the charge(s) will be submitted for payment, and the specific steps the customer must take to
 avoid the charge(s); and

     (viii) In the sale of any debt relief service:

      (A) the amount of time necessary to achieve the represented results, and to the extent that the service may include a
 settlement offer to any of the customer's creditors or debt collectors, the time by which the debt relief service provider will make
 a bona fide settlement offer to each of them;

     (B) to the extent that the service may include a settlement offer to any of the customer's creditors or debt collectors, the
 amount of money or the percentage of each outstanding debt that the customer must accumulate before the debt relief service
 provider will make a bona fide settlement offer to each of them;

      (C) to the extent that any aspect of the debt relief service relies upon or results in the customer's failure to make timely
 payments to creditors or debt collectors, that the use of the debt relief service will likely adversely affect the customer's
 creditworthiness, may result in the customer being subject to collections or sued by creditors or debt collectors, and may
 increase the amount of money the customer owes due to the accrual of fees and interest; and

      (D) to the extent that the debt relief service requests or requires the customer to place funds in an account at an insured
 financial institution, that the customer owns the funds held in the account, the customer may withdraw from the debt relief
 service at any time without penalty, and, if the customer withdraws, the customer must receive all funds in the account, other
 than funds earned by the debt relief service in compliance with §310.4(a)(5)(i)(A) through (C).

     (2) Misrepresenting, directly or by implication, in the sale of goods or services any of the following material information:

      (i) The total costs to purchase, receive, or use, and the quantity of, any goods or services that are the subject of a sales
 offer;

     (ii) Any material restriction, limitation, or condition to purchase, receive, or use goods or services that are the subject of a
 sales offer;

     (iii) Any material aspect of the performance, efficacy, nature, or central characteristics of goods or services that are the
 subject of a sales offer;

     (iv) Any material aspect of the nature or terms of the seller's refund, cancellation, exchange, or repurchase policies;

     (v) Any material aspect of a prize promotion including, but not limited to, the odds of being able to receive a prize, the
 nature or value of a prize, or that a purchase or payment is required to win a prize or to participate in a prize promotion;

      (vi) Any material aspect of an investment opportunity including, but not limited to, risk, liquidity, earnings potential, or
 profitability;

     (vii) A seller's or telemarketer's affiliation with, or endorsement or sponsorship by, any person or government entity;

     (viii) That any customer needs offered goods or services to provide protections a customer already has pursuant to 15
 U.S.C. 1643;

     (ix) Any material aspect of a negative option feature including, but not limited to, the fact that the customer's account will be
 charged unless the customer takes an affirmative action to avoid the charge(s), the date(s) the charge(s) will be submitted for
 payment, and the specific steps the customer must take to avoid the charge(s); or

      (x) Any material aspect of any debt relief service, including, but not limited to, the amount of money or the percentage of
 the debt amount that a customer may save by using such service; the amount of time necessary to achieve the represented
 results; the amount of money or the percentage of each outstanding debt that the customer must accumulate before the
 provider of the debt relief service will initiate attempts with the customer's creditors or debt collectors or make a bona fide offer
 to negotiate, settle, or modify the terms of the customer's debt; the effect of the service on a customer's creditworthiness; the
 effect of the service on collection efforts of the customer's creditors or debt collectors; the percentage or number of customers
 who attain the represented results; and whether a debt relief service is offered or provided by a non-profit entity.




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      (3) Causing billing information to be submitted for payment, or collecting or attempting to collect payment for goods or
 services or a charitable contribution, directly or indirectly, without the customer's or donor's express verifiable authorization,
 except when the method of payment used is a credit card subject to protections of the Truth in Lending Act and Regulation Z,661
 or a debit card subject to the protections of the Electronic Fund Transfer Act and Regulation E.662 Such authorization shall be
 deemed verifiable if any of the following means is employed:
     661
           Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR part 226.
     662
           Electronic Fund Transfer Act, 15 U.S.C. 1693 et seq., and Regulation E, 12 CFR part 205.

      (i) Express written authorization by the customer or donor, which includes the customer's or donor's signature;663
     663
         For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form of signature is
 recognized as a valid signature under applicable federal law or state contract law.

     (ii) Express oral authorization which is audio-recorded and made available upon request to the customer or donor, and the
 customer's or donor's bank or other billing entity, and which evidences clearly both the customer's or donor's authorization of
 payment for the goods or services or charitable contribution that are the subject of the telemarketing transaction and the
 customer's or donor's receipt of all of the following information:

    (A) An accurate description, clearly and conspicuously stated, of the goods or services or charitable contribution for which
 payment authorization is sought;

      (B) The number of debits, charges, or payments (if more than one);

      (C) The date(s) the debit(s), charge(s), or payment(s) will be submitted for payment;

      (D) The amount(s) of the debit(s), charge(s), or payment(s);

      (E) The customer's or donor's name;

     (F) The customer's or donor's billing information, identified with sufficient specificity such that the customer or donor
 understands what account will be used to collect payment for the goods or services or charitable contribution that are the
 subject of the telemarketing transaction;

      (G) A telephone number for customer or donor inquiry that is answered during normal business hours; and

      (H) The date of the customer's or donor's oral authorization; or

       (iii) Written confirmation of the transaction, identified in a clear and conspicuous manner as such on the outside of the
 envelope, sent to the customer or donor via first class mail prior to the submission for payment of the customer's or donor's
 billing information, and that includes all of the information contained in §§310.3(a)(3)(ii)(A)-(G) and a clear and conspicuous
 statement of the procedures by which the customer or donor can obtain a refund from the seller or telemarketer or charitable
 organization in the event the confirmation is inaccurate; provided, however, that this means of authorization shall not be
 deemed verifiable in instances in which goods or services are offered in a transaction involving a free-to-pay conversion and
 preacquired account information.

     (4) Making a false or misleading statement to induce any person to pay for goods or services or to induce a charitable
 contribution.

      (b) Assisting and facilitating. It is a deceptive telemarketing act or practice and a violation of this Rule for a person to
 provide substantial assistance or support to any seller or telemarketer when that person knows or consciously avoids knowing
 that the seller or telemarketer is engaged in any act or practice that violates §§310.3(a), (c) or (d), or §310.4 of this Rule.

     (c) Credit card laundering. Except as expressly permitted by the applicable credit card system, it is a deceptive
 telemarketing act or practice and a violation of this Rule for:

      (1) A merchant to present to or deposit into, or cause another to present to or deposit into, the credit card system for
 payment, a credit card sales draft generated by a telemarketing transaction that is not the result of a telemarketing credit card
 transaction between the cardholder and the merchant;

     (2) Any person to employ, solicit, or otherwise cause a merchant, or an employee, representative, or agent of the
 merchant, to present to or deposit into the credit card system for payment, a credit card sales draft generated by a
 telemarketing transaction that is not the result of a telemarketing credit card transaction between the cardholder and the
 merchant; or

     (3) Any person to obtain access to the credit card system through the use of a business relationship or an affiliation with a
 merchant, when such access is not authorized by the merchant agreement or the applicable credit card system.




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      (d) Prohibited deceptive acts or practices in the solicitation of charitable contributions. It is a fraudulent charitable
 solicitation, a deceptive telemarketing act or practice, and a violation of this Rule for any telemarketer soliciting charitable
 contributions to misrepresent, directly or by implication, any of the following material information:

     (1) The nature, purpose, or mission of any entity on behalf of which a charitable contribution is being requested;

     (2) That any charitable contribution is tax deductible in whole or in part;

     (3) The purpose for which any charitable contribution will be used;

     (4) The percentage or amount of any charitable contribution that will go to a charitable organization or to any particular
 charitable program;

     (5) Any material aspect of a prize promotion including, but not limited to: the odds of being able to receive a prize; the
 nature or value of a prize; or that a charitable contribution is required to win a prize or to participate in a prize promotion; or

     (6) A charitable organization's or telemarketer's affiliation with, or endorsement or sponsorship by, any person or
 government entity.

 [75 FR 48516, Aug. 10, 2010, as amended at 80 FR 77558, Dec. 14, 2015]

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 §310.4 Abusive telemarketing acts or practices.

     (a) Abusive conduct generally. It is an abusive telemarketing act or practice and a violation of this Rule for any seller or
 telemarketer to engage in the following conduct:

     (1) Threats, intimidation, or the use of profane or obscene language;

      (2) Requesting or receiving payment of any fee or consideration for goods or services represented to remove derogatory
 information from, or improve, a person's credit history, credit record, or credit rating until:

     (i) The time frame in which the seller has represented all of the goods or services will be provided to that person has
 expired; and

      (ii) The seller has provided the person with documentation in the form of a consumer report from a consumer reporting
 agency demonstrating that the promised results have been achieved, such report having been issued more than six months
 after the results were achieved. Nothing in this Rule should be construed to affect the requirement in the Fair Credit Reporting
 Act, 15 U.S.C. 1681, that a consumer report may only be obtained for a specified permissible purpose;

      (3) Requesting or receiving payment of any fee or consideration from a person for goods or services represented to
 recover or otherwise assist in the return of money or any other item of value paid for by, or promised to, that person in a
 previous transaction, until seven (7) business days after such money or other item is delivered to that person. This provision
 shall not apply to goods or services provided to a person by a licensed attorney;

     (4) Requesting or receiving payment of any fee or consideration in advance of obtaining a loan or other extension of credit
 when the seller or telemarketer has guaranteed or represented a high likelihood of success in obtaining or arranging a loan or
 other extension of credit for a person;

     (5)(i) Requesting or receiving payment of any fee or consideration for any debt relief service until and unless:

     (A) The seller or telemarketer has renegotiated, settled, reduced, or otherwise altered the terms of at least one debt
 pursuant to a settlement agreement, debt management plan, or other such valid contractual agreement executed by the
 customer;

      (B) The customer has made at least one payment pursuant to that settlement agreement, debt management plan, or other
 valid contractual agreement between the customer and the creditor or debt collector; and

      (C) To the extent that debts enrolled in a service are renegotiated, settled, reduced, or otherwise altered individually, the
 fee or consideration either:

      (1) Bears the same proportional relationship to the total fee for renegotiating, settling, reducing, or altering the terms of the
 entire debt balance as the individual debt amount bears to the entire debt amount. The individual debt amount and the entire
 debt amount are those owed at the time the debt was enrolled in the service; or

     (2) Is a percentage of the amount saved as a result of the renegotiation, settlement, reduction, or alteration. The
 percentage charged cannot change from one individual debt to another. The amount saved is the difference between the
 amount owed at the time the debt was enrolled in the service and the amount actually paid to satisfy the debt.




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     (ii) Nothing in §310.4(a)(5)(i) prohibits requesting or requiring the customer to place funds in an account to be used for the
 debt relief provider's fees and for payments to creditors or debt collectors in connection with the renegotiation, settlement,
 reduction, or other alteration of the terms of payment or other terms of a debt, provided that:

     (A) The funds are held in an account at an insured financial institution;

     (B) The customer owns the funds held in the account and is paid accrued interest on the account, if any;

     (C) The entity administering the account is not owned or controlled by, or in any way affiliated with, the debt relief service;

      (D) The entity administering the account does not give or accept any money or other compensation in exchange for
 referrals of business involving the debt relief service; and

     (E) The customer may withdraw from the debt relief service at any time without penalty, and must receive all funds in the
 account, other than funds earned by the debt relief service in compliance with §310.4(a)(5)(i)(A) through (C), within seven (7)
 business days of the customer's request.

     (6) Disclosing or receiving, for consideration, unencrypted consumer account numbers for use in telemarketing; provided,
 however, that this paragraph shall not apply to the disclosure or receipt of a customer's or donor's billing information to process
 a payment for goods or services or a charitable contribution pursuant to a transaction;

      (7) Causing billing information to be submitted for payment, directly or indirectly, without the express informed consent of
 the customer or donor. In any telemarketing transaction, the seller or telemarketer must obtain the express informed consent of
 the customer or donor to be charged for the goods or services or charitable contribution and to be charged using the identified
 account. In any telemarketing transaction involving preacquired account information, the requirements in paragraphs (a)(7)(i)
 through (ii) of this section must be met to evidence express informed consent.

      (i) In any telemarketing transaction involving preacquired account information and a free-to-pay conversion feature, the
 seller or telemarketer must:

     (A) Obtain from the customer, at a minimum, the last four (4) digits of the account number to be charged;

     (B) Obtain from the customer his or her express agreement to be charged for the goods or services and to be charged
 using the account number pursuant to paragraph (a)(7)(i)(A) of this section; and,

     (C) Make and maintain an audio recording of the entire telemarketing transaction.

      (ii) In any other telemarketing transaction involving preacquired account information not described in paragraph (a)(7)(i) of
 this section, the seller or telemarketer must:

     (A) At a minimum, identify the account to be charged with sufficient specificity for the customer or donor to understand what
 account will be charged; and

     (B) Obtain from the customer or donor his or her express agreement to be charged for the goods or services and to be
 charged using the account number identified pursuant to paragraph (a)(7)(ii)(A) of this section;

      (8) Failing to transmit or cause to be transmitted the telephone number, and, when made available by the telemarketer's
 carrier, the name of the telemarketer, to any caller identification service in use by a recipient of a telemarketing call; provided
 that it shall not be a violation to substitute (for the name and phone number used in, or billed for, making the call) the name of
 the seller or charitable organization on behalf of which a telemarketing call is placed, and the seller's or charitable organization's
 customer or donor service telephone number, which is answered during regular business hours;

     (9) Creating or causing to be created, directly or indirectly, a remotely created payment order as payment for goods or
 services offered or sold through telemarketing or as a charitable contribution solicited or sought through telemarketing; or

     (10) Accepting from a customer or donor, directly or indirectly, a cash-to-cash money transfer or cash reload mechanism as
 payment for goods or services offered or sold through telemarketing or as a charitable contribution solicited or sought through
 telemarketing.

     (b) Pattern of calls. (1) It is an abusive telemarketing act or practice and a violation of this Rule for a telemarketer to
 engage in, or for a seller to cause a telemarketer to engage in, the following conduct:

      (i) Causing any telephone to ring, or engaging any person in telephone conversation, repeatedly or continuously with intent
 to annoy, abuse, or harass any person at the called number;

     (ii) Denying or interfering in any way, directly or indirectly, with a person's right to be placed on any registry of names
 and/or telephone numbers of persons who do not wish to receive outbound telephone calls established to comply with
 paragraph (b)(1)(iii)(A) of this section, including, but not limited to, harassing any person who makes such a request; hanging
 up on that person; failing to honor the request; requiring the person to listen to a sales pitch before accepting the request;




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 assessing a charge or fee for honoring the request; requiring a person to call a different number to submit the request; and
 requiring the person to identify the seller making the call or on whose behalf the call is made;

       (iii) Initiating any outbound telephone call to a person when:

     (A) That person previously has stated that he or she does not wish to receive an outbound telephone call made by or on
 behalf of the seller whose goods or services are being offered or made on behalf of the charitable organization for which a
 charitable contribution is being solicited; or

     (B) That person's telephone number is on the “do-not-call” registry, maintained by the Commission, of persons who do not
 wish to receive outbound telephone calls to induce the purchase of goods or services unless the seller or telemarketer:

      (1) Can demonstrate that the seller has obtained the express agreement, in writing, of such person to place calls to that
 person. Such written agreement shall clearly evidence such person's authorization that calls made by or on behalf of a specific
 party may be placed to that person, and shall include the telephone number to which the calls may be placed and the
 signature664 of that person; or
     664
         For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form of signature is
 recognized as a valid signature under applicable federal law or state contract law.

      (2) Can demonstrate that the seller has an established business relationship with such person, and that person has not
 stated that he or she does not wish to receive outbound telephone calls under paragraph (b)(1)(iii)(A) of this section; or

     (iv) Abandoning any outbound telephone call. An outbound telephone call is “abandoned” under this section if a person
 answers it and the telemarketer does not connect the call to a sales representative within two (2) seconds of the person's
 completed greeting.

     (v) Initiating any outbound telephone call that delivers a prerecorded message, other than a prerecorded message
 permitted for compliance with the call abandonment safe harbor in §310.4(b)(4)(iii), unless:

     (A) In any such call to induce the purchase of any good or service, the seller has obtained from the recipient of the call an
 express agreement, in writing, that:

      (i) The seller obtained only after a clear and conspicuous disclosure that the purpose of the agreement is to authorize the
 seller to place prerecorded calls to such person;

     (ii) The seller obtained without requiring, directly or indirectly, that the agreement be executed as a condition of purchasing
 any good or service;

      (iii) Evidences the willingness of the recipient of the call to receive calls that deliver prerecorded messages by or on behalf
 of a specific seller; and

       (iv) Includes such person's telephone number and signature;665 and
     665
         For purposes of this Rule, the term “signature” shall include an electronic or digital form of signature, to the extent that such form of signature is
 recognized as a valid signature under applicable federal law or state contract law.

      (B) In any such call to induce the purchase of any good or service, or to induce a charitable contribution from a member of,
 or previous donor to, a non-profit charitable organization on whose behalf the call is made, the seller or telemarketer:

       (i) Allows the telephone to ring for at least fifteen (15) seconds or four (4) rings before disconnecting an unanswered call;
 and

     (ii) Within two (2) seconds after the completed greeting of the person called, plays a prerecorded message that promptly
 provides the disclosures required by §310.4(d) or (e), followed immediately by a disclosure of one or both of the following:

      (A) In the case of a call that could be answered in person by a consumer, that the person called can use an automated
 interactive voice and/or keypress-activated opt-out mechanism to assert a Do Not Call request pursuant to §310.4(b)(1)(iii)(A) at
 any time during the message. The mechanism must:

       (1) Automatically add the number called to the seller's entity-specific Do Not Call list;

       (2) Once invoked, immediately disconnect the call; and

       (3) Be available for use at any time during the message; and

     (B) In the case of a call that could be answered by an answering machine or voicemail service, that the person called can
 use a toll-free telephone number to assert a Do Not Call request pursuant to §310.4(b)(1)(iii)(A). The number provided must
 connect directly to an automated interactive voice or keypress-activated opt-out mechanism that:

       (1) Automatically adds the number called to the seller's entity-specific Do Not Call list;




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      (2) Immediately thereafter disconnects the call; and

      (3) Is accessible at any time throughout the duration of the telemarketing campaign; and

      (iii) Complies with all other requirements of this part and other applicable federal and state laws.

       (C) Any call that complies with all applicable requirements of this paragraph (v) shall not be deemed to violate §310.4(b)(1)
 (iv) of this part.

    (D) This paragraph (v) shall not apply to any outbound telephone call that delivers a prerecorded healthcare message
 made by, or on behalf of, a covered entity or its business associate, as those terms are defined in the HIPAA Privacy Rule, 45
 CFR 160.103.

     (2) It is an abusive telemarketing act or practice and a violation of this Rule for any person to sell, rent, lease, purchase, or
 use any list established to comply with §310.4(b)(1)(iii)(A), or maintained by the Commission pursuant to §310.4(b)(1)(iii)(B), for
 any purpose except compliance with the provisions of this Rule or otherwise to prevent telephone calls to telephone numbers
 on such lists.

      (3) A seller or telemarketer will not be liable for violating §310.4(b)(1)(ii) and (iii) if it can demonstrate that, as part of the
 seller's or telemarketer's routine business practice:

      (i) It has established and implemented written procedures to comply with §310.4(b)(1)(ii) and (iii);

      (ii) It has trained its personnel, and any entity assisting in its compliance, in the procedures established pursuant to §310.4
 (b)(3)(i);

        (iii) The seller, or a telemarketer or another person acting on behalf of the seller or charitable organization, has maintained
 and recorded a list of telephone numbers the seller or charitable organization may not contact, in compliance with §310.4(b)(1)
 (iii)(A);

     (iv) The seller or a telemarketer uses a process to prevent telemarketing to any telephone number on any list established
 pursuant to §310.4(b)(3)(iii) or 310.4(b)(1)(iii)(B), employing a version of the “do-not-call” registry obtained from the Commission
 no more than thirty-one (31) days prior to the date any call is made, and maintains records documenting this process;

     (v) The seller or a telemarketer or another person acting on behalf of the seller or charitable organization, monitors and
 enforces compliance with the procedures established pursuant to §310.4(b)(3)(i); and

      (vi) Any subsequent call otherwise violating paragraph (b)(1)(ii) or (iii) of this section is the result of error and not of failure
 to obtain any information necessary to comply with a request pursuant to paragraph (b)(1)(iii)(A) of this section not to receive
 further calls by or on behalf of a seller or charitable organization.

      (4) A seller or telemarketer will not be liable for violating §310.4(b)(1)(iv) if:

     (i) The seller or telemarketer employs technology that ensures abandonment of no more than three (3) percent of all calls
 answered by a person, measured over the duration of a single calling campaign, if less than 30 days, or separately over each
 successive 30-day period or portion thereof that the campaign continues.

     (ii) The seller or telemarketer, for each telemarketing call placed, allows the telephone to ring for at least fifteen (15)
 seconds or four (4) rings before disconnecting an unanswered call;

      (iii) Whenever a sales representative is not available to speak with the person answering the call within two (2) seconds
 after the person's completed greeting, the seller or telemarketer promptly plays a recorded message that states the name and
 telephone number of the seller on whose behalf the call was placed666; and
      666
          This provision does not affect any seller's or telemarketer's obligation to comply with relevant state and federal laws, including but not limited to
 the TCPA, 47 U.S.C. 227, and 47 CFR part 64.1200.

        (iv) The seller or telemarketer, in accordance with §310.5(b)-(d), retains records establishing compliance with §310.4(b)(4)
 (i)-(iii).

      (c) Calling time restrictions. Without the prior consent of a person, it is an abusive telemarketing act or practice and a
 violation of this Rule for a telemarketer to engage in outbound telephone calls to a person's residence at any time other than
 between 8:00 a.m. and 9:00 p.m. local time at the called person's location.

      (d) Required oral disclosures in the sale of goods or services. It is an abusive telemarketing act or practice and a violation
 of this Rule for a telemarketer in an outbound telephone call or internal or external upsell to induce the purchase of goods or
 services to fail to disclose truthfully, promptly, and in a clear and conspicuous manner to the person receiving the call, the
 following information:

      (1) The identity of the seller;




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      (2) That the purpose of the call is to sell goods or services;

      (3) The nature of the goods or services; and

      (4) That no purchase or payment is necessary to be able to win a prize or participate in a prize promotion if a prize
 promotion is offered and that any purchase or payment will not increase the person's chances of winning. This disclosure must
 be made before or in conjunction with the description of the prize to the person called. If requested by that person, the
 telemarketer must disclose the no-purchase/no-payment entry method for the prize promotion; provided, however, that, in any
 internal upsell for the sale of goods or services, the seller or telemarketer must provide the disclosures listed in this section only
 to the extent that the information in the upsell differs from the disclosures provided in the initial telemarketing transaction.

     (e) Required oral disclosures in charitable solicitations. It is an abusive telemarketing act or practice and a violation of this
 Rule for a telemarketer, in an outbound telephone call to induce a charitable contribution, to fail to disclose truthfully, promptly,
 and in a clear and conspicuous manner to the person receiving the call, the following information:

      (1) The identity of the charitable organization on behalf of which the request is being made; and

      (2) That the purpose of the call is to solicit a charitable contribution.

 [75 FR 48516, Aug. 10, 2010, as amended at 76 FR 58716, Sept. 22, 2011; 80 FR 77559, Dec. 14, 2015]

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 §310.5 Recordkeeping requirements.

     (a) Any seller or telemarketer shall keep, for a period of 24 months from the date the record is produced, the following
 records relating to its telemarketing activities:

      (1) All substantially different advertising, brochures, telemarketing scripts, and promotional materials;

      (2) The name and last known address of each prize recipient and the prize awarded for prizes that are represented, directly
 or by implication, to have a value of $25.00 or more;

     (3) The name and last known address of each customer, the goods or services purchased, the date such goods or services
 were shipped or provided, and the amount paid by the customer for the goods or services;667
      667
          For offers of consumer credit products subject to the Truth in Lending Act, 15 U.S.C. 1601 et seq., and Regulation Z, 12 CFR 226, compliance
 with the recordkeeping requirements under the Truth in Lending Act, and Regulation Z, shall constitute compliance with §310.5(a)(3) of this Rule.

     (4) The name, any fictitious name used, the last known home address and telephone number, and the job title(s) for all
 current and former employees directly involved in telephone sales or solicitations; provided, however, that if the seller or
 telemarketer permits fictitious names to be used by employees, each fictitious name must be traceable to only one specific
 employee; and

     (5) All verifiable authorizations or records of express informed consent or express agreement required to be provided or
 received under this Rule.

      (b) A seller or telemarketer may keep the records required by §310.5(a) in any form, and in the same manner, format, or
 place as they keep such records in the ordinary course of business. Failure to keep all records required by §310.5(a) shall be a
 violation of this Rule.

     (c) The seller and the telemarketer calling on behalf of the seller may, by written agreement, allocate responsibility between
 themselves for the recordkeeping required by this Section. When a seller and telemarketer have entered into such an
 agreement, the terms of that agreement shall govern, and the seller or telemarketer, as the case may be, need not keep
 records that duplicate those of the other. If the agreement is unclear as to who must maintain any required record(s), or if no
 such agreement exists, the seller shall be responsible for complying with §§310.5(a)(1)-(3) and (5); the telemarketer shall be
 responsible for complying with §310.5(a)(4).

      (d) In the event of any dissolution or termination of the seller's or telemarketer's business, the principal of that seller or
 telemarketer shall maintain all records as required under this section. In the event of any sale, assignment, or other change in
 ownership of the seller's or telemarketer's business, the successor business shall maintain all records required under this
 section.

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 §310.6 Exemptions.

      (a) Solicitations to induce charitable contributions via outbound telephone calls are not covered by §310.4(b)(1)(iii)(B) of
 this Rule.

      (b) The following acts or practices are exempt from this Rule:




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     (1) The sale of pay-per-call services subject to the Commission's Rule entitled “Trade Regulation Rule Pursuant to the
 Telephone Disclosure and Dispute Resolution Act of 1992,” 16 CFR part 308, provided, however, that this exemption does not
 apply to the requirements of §§310.4(a)(1), (a)(7), (b), and (c);

      (2) The sale of franchises subject to the Commission's Rule entitled “Disclosure Requirements and Prohibitions Concerning
 Franchising,” (“Franchise Rule”) 16 CFR part 436, and the sale of business opportunities subject to the Commission's Rule
 entitled “Disclosure Requirements and Prohibitions Concerning Business Opportunities,” (“Business Opportunity Rule”) 16 CFR
 part 437, provided, however, that this exemption does not apply to the requirements of §§310.4(a)(1), (a)(7), (b), and (c);

     (3) Telephone calls in which the sale of goods or services or charitable solicitation is not completed, and payment or
 authorization of payment is not required, until after a face-to-face sales or donation presentation by the seller or charitable
 organization, provided, however, that this exemption does not apply to the requirements of §§310.4(a)(1), (a)(7), (b), and (c);

     (4) Telephone calls initiated by a customer or donor that are not the result of any solicitation by a seller, charitable
 organization, or telemarketer, provided, however, that this exemption does not apply to any instances of upselling included in
 such telephone calls;

      (5) Telephone calls initiated by a customer or donor in response to an advertisement through any medium, other than direct
 mail solicitation, provided, however, that this exemption does not apply to:

     (i) Calls initiated by a customer or donor in response to an advertisement relating to investment opportunities, debt relief
 services, business opportunities other than business arrangements covered by the Franchise Rule or Business Opportunity
 Rule, or advertisements involving offers for goods or services described in §310.3(a)(1)(vi) or §310.4(a)(2) through (4);

     (ii) The requirements of §310.4(a)(9) or (10); or

     (iii) Any instances of upselling included in such telephone calls;

      (6) Telephone calls initiated by a customer or donor in response to a direct mail solicitation, including solicitations via the
 U.S. Postal Service, facsimile transmission, electronic mail, and other similar methods of delivery in which a solicitation is
 directed to specific address(es) or person(s), that clearly, conspicuously, and truthfully discloses all material information listed in
 §310.3(a)(1), for any goods or services offered in the direct mail solicitation, and that contains no material misrepresentation
 regarding any item contained in §310.3(d) for any requested charitable contribution; provided, however, that this exemption
 does not apply to:

     (i) Calls initiated by a customer in response to a direct mail solicitation relating to prize promotions, investment
 opportunities, debt relief services, business opportunities other than business arrangements covered by the Franchise Rule or
 Business Opportunity Rule, or goods or services described in §310.3(a)(1)(vi) or §310.4(a)(2) through (4);

     (ii) The requirements of §310.4(a)(9) or (10); or

     (iii) Any instances of upselling included in such telephone calls; and

      (7) Telephone calls between a telemarketer and any business to induce the purchase of goods or services or a charitable
 contribution by the business, except calls to induce the retail sale of nondurable office or cleaning supplies; provided, however,
 that §§310.4(b)(1)(iii)(B) and 310.5 shall not apply to sellers or telemarketers of nondurable office or cleaning supplies.

 [75 FR 48516, Aug. 10, 2010, as amended at 80 FR 77559, Dec. 14, 2015]

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 §310.7 Actions by states and private persons.

      (a) Any attorney general or other officer of a state authorized by the state to bring an action under the Telemarketing and
 Consumer Fraud and Abuse Prevention Act, and any private person who brings an action under that Act, shall serve written
 notice of its action on the Commission, if feasible, prior to its initiating an action under this Rule. The notice shall be sent to the
 Office of the Director, Bureau of Consumer Protection, Federal Trade Commission, Washington, DC 20580, and shall include a
 copy of the state's or private person's complaint and any other pleadings to be filed with the court. If prior notice is not feasible,
 the state or private person shall serve the Commission with the required notice immediately upon instituting its action.

      (b) Nothing contained in this Section shall prohibit any attorney general or other authorized state official from proceeding in
 state court on the basis of an alleged violation of any civil or criminal statute of such state.

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 §310.8 Fee for access to the National Do Not Call Registry.

       (a) It is a violation of this Rule for any seller to initiate, or cause any telemarketer to initiate, an outbound telephone call to
 any person whose telephone number is within a given area code unless such seller, either directly or through another person,
 first has paid the annual fee, required by §310.8(c), for access to telephone numbers within that area code that are included in
 the National Do Not Call Registry maintained by the Commission under §310.4(b)(1)(iii)(B); provided, however, that such




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 payment is not necessary if the seller initiates, or causes a telemarketer to initiate, calls solely to persons pursuant to §§310.4
 (b)(1)(iii)(B)(i) or (ii), and the seller does not access the National Do Not Call Registry for any other purpose.

     (b) It is a violation of this Rule for any telemarketer, on behalf of any seller, to initiate an outbound telephone call to any
 person whose telephone number is within a given area code unless that seller, either directly or through another person, first
 has paid the annual fee, required by §310.8(c), for access to the telephone numbers within that area code that are included in
 the National Do Not Call Registry; provided, however, that such payment is not necessary if the seller initiates, or causes a
 telemarketer to initiate, calls solely to persons pursuant to §§310.4(b)(1)(iii)(B)(i) or (ii), and the seller does not access the
 National Do Not Call Registry for any other purpose.

      (c) The annual fee, which must be paid by any person prior to obtaining access to the National Do Not Call Registry, is $63
 for each area code of data accessed, up to a maximum of $17,406; provided, however, that there shall be no charge to any
 person for accessing the first five area codes of data, and provided further, that there shall be no charge to any person
 engaging in or causing others to engage in outbound telephone calls to consumers and who is accessing area codes of data in
 the National Do Not Call Registry if the person is permitted to access, but is not required to access, the National Do Not Call
 Registry under this Rule, 47 CFR 64.1200, or any other Federal regulation or law. No person may participate in any
 arrangement to share the cost of accessing the National Do Not Call Registry, including any arrangement with any telemarketer
 or service provider to divide the costs to access the registry among various clients of that telemarketer or service provider.

      (d) Each person who pays, either directly or through another person, the annual fee set forth in paragraph (c) of this
 section, each person excepted under paragraph (c) from paying the annual fee, and each person excepted from paying an
 annual fee under §310.4(b)(1)(iii)(B), will be provided a unique account number that will allow that person to access the registry
 data for the selected area codes at any time for the twelve month period beginning on the first day of the month in which the
 person paid the fee (“the annual period”). To obtain access to additional area codes of data during the first six months of the
 annual period, each person required to pay the fee under paragraph (c) of this section must first pay $63 for each additional
 area code of data not initially selected. To obtain access to additional area codes of data during the second six months of the
 annual period, each person required to pay the fee under paragraph (c) of this section must first pay $32 for each additional
 area code of data not initially selected. The payment of the additional fee will permit the person to access the additional area
 codes of data for the remainder of the annual period.

      (e) Access to the National Do Not Call Registry is limited to telemarketers, sellers, others engaged in or causing others to
 engage in telephone calls to consumers, service providers acting on behalf of such persons, and any government agency that
 has law enforcement authority. Prior to accessing the National Do Not Call Registry, a person must provide the identifying
 information required by the operator of the registry to collect the fee, and must certify, under penalty of law, that the person is
 accessing the registry solely to comply with the provisions of this Rule or to otherwise prevent telephone calls to telephone
 numbers on the registry. If the person is accessing the registry on behalf of sellers, that person also must identify each of the
 sellers on whose behalf it is accessing the registry, must provide each seller's unique account number for access to the national
 registry, and must certify, under penalty of law, that the sellers will be using the information gathered from the registry solely to
 comply with the provisions of this Rule or otherwise to prevent telephone calls to telephone numbers on the registry.

 [75 FR 48516, Aug. 10, 2010; 75 FR 51934, Aug. 24, 2010, as amended at 77 FR 51697, Aug. 27, 2012; 78 FR 53643, Aug. 30, 2013; 79
 FR 51478, Aug. 29, 2014; 80 FR 77560, Dec. 14, 2016; 81 FR 59845, Aug. 31, 2016; 82 FR 39534, Aug. 21, 2017; 83 FR 46640, Sept.
 14, 2018]

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 §310.9 Severability.

      The provisions of this Rule are separate and severable from one another. If any provision is stayed or determined to be
 invalid, it is the Commission's intention that the remaining provisions shall continue in effect.

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